      Case 3:20-cv-00287-MMD-CSD Document 159 Filed 06/24/22 Page 1 of 1




1

2

3

4                                    UNITED STATES DISTRICT COURT

5                                          DISTRICT OF NEVADA

6      DANTE PATTISON,
7                                                          3:20-cv-00287-MMD-CSD
                                          Plaintiff,
8         v.
                                                           ORDER
9      BRIAN SANDOVAL, et al.,
10                                                         Re: ECF No. 156
                                       Defendants.
11

12             Before the court is Plaintiff’s Motion for Extension of Time to Respond to Defendants’ Motion

13   for Summary Judgment (ECF No. 156). Plaintiff requests an extension of thirty (30) days in which to

14   file a response to Defendants’ Motion for Summary Judgment.
15             IT IS HEREBY ORDERED that Plaintiff’s Motion for Extension of Time to Respond to
16
     Defendants’ Motion for Summary Judgment (ECF No. 156) is GRANTED to the extent that Plaintiff
17
     shall have to and including Monday, July 25, 2022, to file a response to Defendants’ Motion for
18
     Summary Judgment (ECF No. 143).
19

20             DATED: June 24, 2022.

21
                                                       ______________________________________
22                                                     UNITED STATES MAGISTRATE JUDGE

23

24

25

26

27



                                                          1
